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                    United States Court of Appeals
                                  FIFTH CIRCUIT
                               OFFICE OF THE CLERK
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                               July 25, 2023


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Mr. David H. Thompson
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1523 New Hampshire Avenue, N.W.
Washington, DC 20036

      No. 23-10718       VanDerStok v. Garland
                         USDC No. 4:22-CV-691
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Dear Mr. Daniels, Mr. Flores, Mr. Janda, Mr. Poe, Mr. Smid, Mr.
Thompson,
In light of the court order of July 24, 2023 expediting the
above captioned appeal, please adhere to the following expedited
briefing schedule:
  •   Appellants’ opening brief is due August 9, 2023
  •   Appellees’ brief is due August 23, 2023
  •   Appellants’ reply brief is due August 29, 2023
Counsel will be notified regarding oral argument at a later
date. Please adhere to the expedited briefing schedule without
requesting extensions in order to ensure the availability of the
briefs to the court prior to oral argument.
Record Excerpts: 5th Cir. R. 30.1.7(c) provides that the electronic
PDF version of the record excerpts should contain pages
representing the "tabs" identified in the index of the document.
However, we remind attorneys that the actual paper copies of record
excerpts filed with the court must contain actual physical tabs
that extend beyond the edge of the document, to facilitate easy
identification and review of tabbed documents.
Brief Covers: THE CASE CAPTION(S) ON BRIEF COVERS MUST BE EXACTLY
THE SAME AS THE CASE CAPTION(S) ON THE ENCLOSED TITLE CAPTION
SHEET(S). YOU WILL HAVE TO CORRECT ANY MODIFICATIONS YOU MAKE TO
THE CAPTION(S) BEFORE WE SUBMIT YOUR BRIEF TO THE COURT.
Dismissal of Appeals: The clerk may dismiss appeals without notice
if you do not file a brief on time, or otherwise fail to comply
with the rules.
Appearance Form: If you have not electronically filed a "Form for
Appearance of Counsel," you must do so within 14 days of this date.
You must name each party you represent, See Fed. R. App. P. and 5th
Cir. R. 12. The form is available from the Fifth Circuit’s website,
www.ca5.uscourts.gov.
ATTENTION ATTORNEYS: Direct access to the electronic record on
appeal (EROA) for pending appeals will be enabled by the U S
District Court on a per case basis. Counsel can expect to receive
notice once access to the EROA is available.      Counsel must be
approved for electronic filing and must be listed in the case as
attorney of record before access will be authorized. Instructions
for accessing and downloading the EROA can be found on our website
at                      http://www.ca5.uscourts.gov/docs/default-
source/forms/instructions-for-electronic-record-download-
feature-of-cm. Additionally, a link to the instructions will be
included in the notice you receive from the district court.
Sealed documents, except for the presentence investigation report
in criminal appeals, will not be included in the EROA. Access to
sealed documents will continue to be provided by the district court
only upon the filing and granting of a motion to view same in this
court.
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Guidance Regarding Citations in Pleadings.
5th Cir. R. 28.2.2 grants the Clerk the authority to create a
standard format for citation to the electronic record on appeal.
You must use the proper citation format when citing to the
electronic record on appeal.
  A. In single record cases, use the short citation form, "ROA"
     followed by a period, followed by the page number.     For
     example, "ROA.123."
  B. For multiple record cases, cite "ROA" followed by a period,
     followed by the Fifth Circuit appellate case number of the
     record referenced, followed by a period, followed by the
     page of the record. For example, "ROA.13-12345.123.".
  C. Please note each individual citation must end                  using   a
     termination of a period (.) or semicolon (;).
Brief Template: The clerk’s office offers brief templates and the
ability to check the brief for potential deficiencies prior to
docketing to assist in the preparation of the brief. To access
these options, log in to CM/ECF and from the Utilities menu, select
‘Brief Template’ (Counsel Only) or ‘PDF Check Document’.
Reminder as to Sealing Documents on Appeal: Our court has a strong
presumption of public access to our court’s records, and the court
scrutinizes any request by a party to seal pleadings, record
excerpts, or other documents on our court docket. Counsel moving
to seal matters must explain in particularity the necessity for
sealing in our court. Counsel do not satisfy this burden by simply
stating that the originating court sealed the matter, as the
circumstances that justified sealing in the originating court may
have changed or may not apply in an appellate proceeding. It is
the obligation of counsel to justify a request to file under seal,
just as it is their obligation to notify the court whenever sealing
is no longer necessary.     An unopposed motion to seal does not
obviate a counsel’s obligation to justify the motion to seal.


                                Sincerely,
                                LYLE W. CAYCE, Clerk

                                By: _________________________
                                Roeshawn Johnson, Deputy Clerk
                                504-310-7998


Enclosure(s)
cc w/encl:
     Mr. William V. Bergstrom
     Mr. Richard Brent Cooper
     Mr. Stephen Obermeier
     Mr. Peter A. Patterson
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Mr. Daniel M. Riess
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                            Case No. 23-10718




Jennifer VanDerStok; Michael G. Andren; Tactical Machining,
L.L.C., a limited liability company; Firearms Policy Coalition,
Incorporated, a nonprofit corporation,
                       Plaintiffs - Appellees
Blackhawk Manufacturing Group, Incorporated, doing business as
80 Percent Arms; Defense Distributed; Second Amendment
Foundation, Incorporated; Not An L.L.C., doing business as JSD
Supply; Polymer80, Incorporated,
                       Intervenor Plaintiffs - Appellees
v.
Merrick Garland, U.S. Attorney General; United States Department
of Justice; Steven Dettelbach, in his official capacity as
Director of the Bureau of Alcohol, Tobacco, Firearms and
Explosives; Bureau of Alcohol, Tobacco, Firearms, and
Explosives,
                       Defendants - Appellants
